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                             Exhibit A
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                                                                                \       FILED
                                                                              Cl VIL JWS!tlESS OFFICE l l
                                                                                  CENTRAL DIVISION -
 1 Randall C. Rechs, Esq. (SB# 195159)
   LAW OFFICES OF RANDALL C. RECHS
 2 11455 El Camino Real, Suite 358                                             I 2DJ8   APR ~5 p ti: OS,
   San Diego, CA 92130
 3 Telephone: (619) 696-6200                                                 CLEHX-SUPERIOR COURT
   Facsunile: (619) 236-0153                                                   SAN DIEGO COUNTY. CA
 4
     Attorney for Plaintiff
 5

 6
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
 7
                         IN AND FOR THE COUNtY OF SAN DIEGO - CENTRAL
 8
   MADDEN BILOKONSKY, individually, by and                Case No. 37-2018-00016847-CU-PO-CTL
 9 through his Guardian ad Litem, COURTNEY
   BILOKONSKY,                                            COMPLAINT FOR DAMAGES
10                                                              ---- - - --- - - · - -++........_.._,...___. --·-- . --· _ _ _ _ _ _,

                         Plaintiff,                       1. NEGLIGENCE
11
            v.                                            2. PREMISES LIABILITY
12
   SAN DIEGO UNIFIED SCHOOL                3. DANGEROUS CONDITION OF PUBLIC
13 DISTRICT, a government entity; MILLER   PROPERTY
   ELEMENfARY SCHOOL, a government entity;
14 MURPHY CANYON YOUTH CENTER, a
   government entity; NAVY REGION SOUTHWES
15 CHILD AND YOUTH PROGRAM, a government
   entity, and
16 DOES 1-50, inclusive,

17                            Defendants.
18
19
     COMES NOW Plaintiff, MADDEN BILOKONSKY, and for all causes of action, alleges as follows:
20
                                            I. PARTIES AND VENUE
21
            l. At all times, where the wrongful conduct occurred as alleged herein, Plaintiff MADDEN
22
     BILOKONSKY was, and still is, a minor who resided with her family within the County of San Diego
23
     State of California. Plaintiff MADDEN BILOKONSKY hereby brings suit by and through his Guardi
24
     ad Litem, COURTNEY BILOKONSKY.
25
            2. Plaintiff is informed and believes, and upon such information and belief, alleges that at all
26
     times mentioned herein, Defendants SAN DIEGO UNIFIED SCHOOL DISTRICT, MILLER
27
     ELEMENTARY SCHOOL, MURPHY CANYON YOUTII CENTER, NAVY REGION
28                                   1
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 1   SOUTHWEST CHILD AND YOUTH PROGRAM, and DOES 1-50 inclusive, were government

 2   entities, individuals, corporations or other business entities licensed to do business, and doing busines

 3   in the County of San Diego, State of California

 4            3. Defendant MILLER ELEMENTARY SCHOOL, was, and is a government entity in the S e

 5   of California, under California law, located at 4343 Shields St, San Diego, CA 92124, within the SAN

 6   DIEGO UNIFIED SCHOOL DISTRICT.

 7            4. Defendant SAN DIEGO UNIFIED SCHOOL DISTRICT, was, and is a government entity i

 8   the State of California, under California law, located at 4100 Normal St, San Diego, CA 92103. Plain ff

 9   hereby brings suit within the statutorily-prescribed time, pursuant to California Government Code §

10   945.6.

11            5. Defendant MURPHY CANYON YOUTH CENTER was, and is a federal government enti

12   under Federal law, located at 4867 Santo Rd, San Diego, CA 92124.

13            6. Defendant NAVY REGION SOUTHWEST CHILD AND YOUTH PROGRAM was, and is a

14   federal government entity, under Federal law, located at 4867 Santo Rd, San Diego, CA 92124.

15            7. Plaintiff is unaware of the true names and capacities of Defendants sued herein as DOES 1

16   through 50. Therefore, Plaintiff sues Defendants by such fictitious names. Plaintiff will seek leave to

17   amend this compliant to allege the true names and capacities when ascertained. Plaintiff is informed,

18   believes, and thereon alleges that each of the fictitiously named Defendants are responsible for the

19   occurrences alleged herein and are liable to Plaintiff for the damages legally caused thereby.

2O            8. Except where specifically otherwise stated in the complaint, each Defendant sued was the

21   agent, employee, or representative of the remaining Defendants and was acting within the course, scop ,

22   and authority of such relationship.

23                           II. FACTS COMMON TO ALL CAUSES OF ACTION

24            9. Plaintiff incorporates by reference paragraphs 1-8, as though fully set forth herein.

25            10. On or about June 4, 2017, PlaintiffMADDENBILOKONSKY, a five year-old atthe time

26   was enrolled and attending MILLER ELEMENTARY SCHOOL and MURPHY CANYON YOUTH

27   CENTER. At this time, he opened up to his parents about months of routine bullying that had been

28                                                        2

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 1   occurring at both these locations by two older children.
 2           11. Primarily throughout April and May of 201 7, five year-old Plaintiff MADDEN
 3   BILOKONSKY was repeatedly cornered in the bathroom and the gym of the school and youth center,
 4   forcibly undressed, and touched and hit in his private area and face by two nine year-olds. Both the
 5   school and the youth center claim to be supervising these children, yet all Madden's supervisors did
 6 nothing regarding these repeated events, despite Madden's repeat attempts to tell the supervising adul
 7 about the bullying and approximately thirteen nurse visits, mostly for trauma to the head and groin, in
 8   roughly a two month period. Additionally, the older children routinely bloodied Madden's nose and
 9 prevented him from receiving snacks provided to him by the school and youth center.
10           12. After Madden's parents repeatedly contacted the school and the youth center about these
11 attacks, the youth center's regional director promised to take every measure possible; he promised to
12 investigate the matter further, notify the entire staff, and notify the parents of the children involved.
13 school's vice principal denied the possibility of the bullying because the nine year-olds are kept separ e
14 from the five year olds.
15           13. For the three days following June 4, 2017, Madden's mother picked Madden up from scho 1.
16   Each day, she witnessed the child who had abused Madden standing in the same area as the
17   kindergarteners, who were all waiting to be picked up from school. When this was brought to the
18   attention of the vice principal, he was shocked. He promised that something would be done.
19           14. Two days after the regional director of the youth center was notified of the incidents,

2 0 Madden's parents talked to the care-givers who usually drove Madden to the youth center after school,
21   who were still trying to transport Madden to the youth center. Madden's parents then discovered that
22   despite the regional director's assurances that all staff would be notified, they had not been notified of
23   the incidents. Madden's mother then emailed the director of the youth center, requesting information
24   regarding why these care-givers were not aware of the incidents, but has still received no reply.
25           15. To date, there have been no attempts to investigate, notify about, or prevent future attacks
2 6 either the school or the youth center. Madden has not been sent back to MURPHY CANYON YOU
27   CENTER since June 4, 2017.
28                                                       3

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 1          16. As a result of these incidents, Plaintiff MADDEN BILOKONSKY requires psychiatric

 2   therapy, as he has been traumatized and blames himself. He has also missed school and time with his

 3   friends because he now has to be supervised by his parents.

 4          17. MADDEN BILOKONSKY'S parents, COUR1NEY BILOKONSKY and her husband

 5   V asyl, have both suffered tremendous anxiety and have missed time at work in order to supervise

 6   Madden. Madden's mother even stopped looking for a new job, as she felt she could not trust the scho 1

 7   or youth center to supervise him adequately.

 8                                     III. FIRST CAUSE OF ACTION
 9                                (General Negligence, as to all Defendants)
10          18. Plaintiff incorporates by reference paragraphs 1-17, as though fully set forth herein.

11          19. Because Plaintiff was a student enrolled at Defendant's school and after-school care

12   program, subject to the instruction of Defendant's employee-teachers/supervisors, Defendant's

13   employee-teachers/supervisors owed the Plaintiff a duty to act as a reasonably prudent

14   teacher/supervisor under the circumstances.

15          20. Defendants had a duty to exercise reasonable care to protect Plaintiff from injury on the

16   premises, which included the duty to conduct reasonable supervision of the Plaintiff during his time at

17   school and after care.

18          21. Defendants negligently conducted reasonable supervision on the subject premises by

19   negligently allowing students of different age groups, and therefore different levels of physical

20   strength, in unrestricted numbers, to be in unsupervised areas, such as the gym and bathrooms,

21   together, causing a ha?.ardous condition. Despite the "one student in the bathroom at a time" policy,

22   defendants repeatedly failed to enforce said policy, allowing younger students to be subjected to the

23   dangerous condition.

24          22. Plaintiff's repeated requests for help from teachers and supervisors, approximate thirteen

25   nurse visits for head and groin trauma in a two month period, and bloody noses and stolen snacks

26   were present for a sufficient amount of time that Defendants discovered or should have discovered the

27   dangerous condition in the exercise of reasonable care.

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  1          23. Defendants carelessly, wantonly, and unlawfully operated, controlled, and maintained the

  2   supervision of said premises, as to negligently allow students to be unsupervised, leaving the younger

  3   students defenseless to attack, where it was reasonably foreseeable that younger students, including

  4   Plaintiff MADDEN BILOKONSKY, would be attacked.

  5          24. As a result of Defendant's negligence, Plaintiff was injured. Accordingly, Defendants

  6   were the actual and proximate cause of the Plaintiffs injuries.

  7          25. As a result of Defendant's negligence, Plaintiff incurred damages for medical bills, and

  8   pain and suffering, in an amount according to proof.

  9                                     IV. SECOND CAUSE OF ACTION
 10                                   (Premises Liability, as to all Defendants)

 11          26. Plaintiff incorporates by reference paragraphs 1-25, as though fully set forth herein.

 12          27. Defendants are the owners/occupantsnessors of the properties located at 4343 Shields St,

 13   San Diego, CA 92124 and located at 4867 Santo Rd, San Diego, CA 92124.

 14   28. Defendants had a duty to exercise reasonable care in the use, maintenance, and management of

 15   said premises in order to avoid exposing persons to an unreasonable risk of harm.

 16          29. Defendants had a duty to maintain a reasonably safe premises, which included the duty to

 17   ensure areas frequented by students, were free from hazardous conditions.

 18          30. Defendants breached their duty by creating a dangerous condition on the property when
 19   Defendants failed to supervise the gym and bathroom areas, where it was foreseeable that students

 20   might be bullied.

 21          31. Defendants breached their duty by failing to eliminate said hazardous condition with

 22   adequate supervision.

 23          32. By creating the dangerous condition, Defendants were both the actual and proximate

 24   cause of Plaintiffs injuries.

 25          33. As a result of Defendant's breach, Plaintiff incurred damages, including pain and

 26          suffering, medical expenses, and emotional distress, in an amount according to proof.

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 28                                                       5

                                          COMPLAINT FOR DAMAGES
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  1                                       V. THIRD CAUSE OF ACTION
  2              (Dangerous Condition of Public Property, Gov. Code§ 835, as to all Defendants)
  3           34. Plaintiff incorporates by reference paragraphs 1-33, as though fully set forth herein.
  4           35. Defendants are the owners/occupants/lessors of the properties located at 4343 Shields St,
  5   San Diego, CA 92124 and located at 4867 Santo Rd, San Diego, CA 92124.
  6              36. At the time of the incident, the unsupervised bathrooms and gym were a dangerous
  7   condition. Defendants had notice of the bullying which was the dangerous condition.
  8           37. The dangerous condition created a reasonably foreseeable risk that a student would be
  9   bullied.
 10              38. Defendant's employee-teacher/supervisor was acting in the scope of his employment by
 11   allowing the older and younger students to be unsupervised and unrestricted in number in the gym
 12   and bathrooms together at the same time.
 13           39. Defendant's employee-teacher/supervisor created the dangerous condition by allowing
 14   younger students to use the restroom and gym at the same time as the older students, unsupervised
 15   and unrestricted in number.
 16           40. The dangerous conditions of the gym and bathrooms were a substantial factor in causing
 17   Plaintiff's injuries.
 18           41. As a result of Defendant's employee-teacher/supervisor's negligence, Plaintiff incurred
 19   damages, including pain and suffering, medical expenses, and emotional distress, in an amount
 2 O according to proof.

 21   ///

 22   Ill
 23   Ill
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 25   Ill
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                                          COMPLAINT FOR DAMAGES
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     l             WHEREFORE. Plaintiff respectfully prays for judgment against Defendants. and each of
     2     them. and requests that the court grant relief as follov,·s:

     3             1.        for general damages:

     4             2.        For medical and related expenses, according to proof:
                   ,.,
                   .)    .   For costs of the suit incurred herein;

     6             4.        For such other and fu11her relief as the Comt may deem proper.
     7

     8                                                                LAW OFFICES OF RANDALL C. RECIIS
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